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Form to be used by a prisoner filing a civil rights complaint under

WESTERN BISTHIGT OF Lousiana 1 ELE! CIVIL RIGHTS ACT, 42 U.S.C. § 1983
JUN 25 2012 UNITED STATES DISTRICT COURT

fONY A, MOORE, ClEGK” WESTERN DISTRICT OF LOUISIANA

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JAMES E BOWMAN #19187-045 1:decvily1 Sec.P
Full Name of Plaintiff, Prisoner Number Civil Action
DRELD
VS. Judge
GERALD MALDENALDO ET AL KIRK
Full Name of Defendant Magistrate Judge
COMPLAINT

I. Previous Lawsuits

A. Have you begun any other lawsuit while incarcerated or detained in any facility?
Yes _x No

B. If your answer to the preceding question is yes, provide the following information.

1. State the court(s) where each lawsuit was filed (if federal, identify the District; if state
court, identify the county or parish):

United States District Court, Leavenworth, Kansas

 

2. Name the parties to the previous lawsuit(s):
Plaintiffs: James E. Bowman
Defendants: [ forgot who T was suing
3. Docket number(s); Unsure
4. Date(s) on which each lawsuit was filed: _[t iwas in 2004 or 2005.

5. Disposition and date thereof [For example, was the case dismissed and when? Was it
appealed and by whom (plaintiff or defendant)? Is the case still pending? ]:

lt was not appealed.
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IL.

C. Have you filed any lawsuit or appeal in any federal district court or appeals court which

has been dismissed?
Yes _x No _

If your answer to the preceding question is yes, state the court(s) which dismissed the case,

_ the civil action number(s), and the reason for dismissal (e.g., frivolity, malice, failure to

state a claim, defendants immune from relief sought, etc.).

tL don't remeber.

 

Name of institution and address of current place of confinement:

FCI-Victorville Il, P.O. Box 3850, Adelanto, Callifornia 92301

Is there a prison grievance procedure in this institution?
Yes _X No

1. Did you file an administrative grievance based upon the same facts which form the

basis of this lawsuit?
Yes _X No
If Yes, what is the Administrative Remedy Procedure number? 573248-Al

 

2. If you did not file an administrative grievance, explain why you have not done so.

N/A

 

3. If you filed an administrative grievance, answer the following question.

What specific steps of the prison procedure did you take and what was the result? (For
example, for state prisoners in the custody of the Department of Public Safety and
Corrections: did you appeal any adverse decision through to Step 3 of the
administrative grievance procedure by appealing to the Secretary of the Louisiana
Department of Public Safety and Corrections? For federal prisoners: did you appeal
any adverse decision from the warden to the Regional Director for the Federal Bureau
of Prisons, or did you make a claim under the Federal Tort Claims Act?)

I filed a BP-8, BP-9, BP-10, and BP-114 See attached.

 

Attach a copy of each prison response and/or decision rendered in the administrative
proceeding.

Ill. Parties to Current Lawsuit: See attached complaint.
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A. Name of Plaintiff James F. Bowman #17187-045

Address FCt-Victorville 2, PO Box 3850, Adelanto, California

 

 

B. Defendant, see Attached complaint , is employed as
See _ atached complaint al_ See attached complaint
Defendant, See attached complaint , is employed as

 

See attached complaint at__ See attached complaint
Defendant, See attached complaint , is employed as
See attached complaint at_ See attached complaint

Additional defendants See attached complaint

 

IV. Statement of Claim

State the FACTS of your case. Specifically describe the involvement and actions of each named
defendant. Include the names of all persons involved in the incident(s) or condition(s) giving
rise to this lawsuit, and the dates upon which and the places where the incident(s) and/or
condition(s) occurred. YOU ARE REQUIRED TO SET FORTH ONLY FACTUAL
ALLEGATIONS. YOU ARE NOT REQUIRED TO SET FORTH LEGAL THEORIES
OR ARGUMENTS.

See attached complaint.

 

 

 

 

 

 

 

 

 
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Vv. Relief

State exactly what you want the court to provide to you or do for you. Make no legal
arguments. Cite no cases or statutes.

See attached complaint.

 

 

VI. Plaintiff’s Declaration

A. lLunderstand that if I am transferred or released, J must apprise the Court of my address,
and my failure to do so may result in this complaint being dismissed.

B. I understand that I may not proceed without prepayment of costs if I have filed three
lawsuits and/or appeals that were dismissed on grounds that the action and/or appeal was
frivolous or malicious, or failed to state a claim upon which relief may be granted, unless
I am in imminent danger of serious physical injury.

C. If Iam located in a prison participating in the Electronic Filing Pilot Program, I consent
to receive orders, notices and judgments by Notice of Electronic Filing.

 

 

 

Signed this 16th day of _JUNE » 2012
17187-045 Pownes X, “ Pown VLU
Prisoner no. (Louisiana Department of Signature of Plaintiff ,

Corrections or Federal Bureau of Prisons)

January 2012
updates: pmitchell
n:\pro se prisoner forms\1983.prisoner. January2012.wpd
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IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF LOUISIANA

JAMES E. BOWMAN,
Plaintiff,

Vv. Case No. 12-CV-01171-DDD-JDK
GERALD MALDENALDO, South Central
Regional Director (Bureau of
Prisons), JERRY McKENNEY, Special |,
Investigations Agent, MIKE CRITTLE,
Special Investigations Supervisor,
LIEUTENANT WASSEN, Evening Watch
Lieutenant, DHO WHITE, Disciplenary |:
Hearing Officer, KAREN MILLION,
Warden's Secretary, JUDY LUKE, Admin-:
istrative Remedy Coordinator- USP-
Pollock, JOHN and/or JANE DOE(S) 1,
2, 3, IN THEIR DNDIVIDUAL CAPACITIES,
Defendants.

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COMPLAINT FOR DAMAGES

 

Comes Now Plaintiff, James E. Bowman, pro se. And requests
actual and»punitive damages against the defendants. Support for
this request is as follows:

1. That Plaintiff was an inmate incarcerated at USP-
Pollock, in Pollock, Louisiana, in the Western District of Lousiana.

2. Defendants, Gerald Maldenaldo, Jerry McKenney, Mike
Crittle, Lieutenenat Wassen, DHO White, Karen Million, Judy Luke,
John and/or Jane Doe(s) 1, 2, and 3 were at all times relevant hereto,
officers and employees of the U.S. Department of Justice's Bureau of
Prisons. - \ oe a

3. This court has jurisdiction of this matter by virtue
of 28 U.S.C. Section 1331 and Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotic, 403 U.S. 388 (1971). Venue is vested
by virtue of the provisions of 28 U.S.C. Section 1391(b).

 

4. This court has jurisdiction over this matter because
this cause of action involves federal officials/employees acting
under color of legal authority.
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“COUNT I

Beginning on or about December 11, 2009, the defendants and
each of them, did combine, conspire, and confederate together and
with others unknown to Plaintiff, to punish Plaintiff as a form
of retaliation and harrassment for filing complaints concerning
instances of mistreatment and threats made against his life by
executive staff at USP-Pollock, in violation of Plaintiff's
First and Eighth Amendment rights of the United States Constitution.

At all times relevant hereto, the Defendants knew or should
have known that the Plaintiff possessed the right to petition the
government for redress of his grievances without incurring reprisal
by transferring the Plaintiff from his cell in general population
with freedom of movement, access to television programs, food
products from the inmate commissary, 300 minutes per month phone
privileges, and numerous hours of access to the law library every
day, to a 23 hour per day locked cell with no access to any television,
no acess to food products from the inmate commissary except one
candy bar per week, phone access limited to 15 minutes per month, .
and law library access restricted to at the whim of the officer in
charge of the Range/Cell Block the Plaintiff is housed on.

It was the object of the conspiracy by the Defendants to punish
the Plaintiff for engaging in constitutionally protected activity
by virtue of Plaintiff filing complaints against various individuals
employed by the Bureau of Prisons, and because the plaintiff did
exercise his right to freedom of speech and freedom of expression
while complaining to the Director of the South Central region of

the Bureau of Prisons, et al., about staff mistreatment of Plaintiff.

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1. Oncor about October 26, 2009, Plaintiff sent a complaint
to Geraldo Maldonado, Jr., et al., explaining that I was being
mistreated and threatened by staff at USP-Pollock, and that I needed
for him/them to intervene before things got out of hand and to make
them give Plaintiff forms so that he could file grievances and
appeals to conduct violations which were issued to Plaintiff maliciously.
The Defendant, Geraldo Maldonado, Jr., did not respond and it appeared
as though he took no corrective actions. On November 12, 2009,
Plaintiff sent~another complaint to Defendant Geraldo Maldonado, Jr.
explaining that Plaintiff was yet in need of Defendant Maldonado's
help in acquiring the necessary forms for filing complaints and for
documenting the threats on Plaintiff's life by executive staff.
On December 11, 2009, Defendant Maldonado responsed to the October
26, 2009 complaint by directing staff at USP-Pollock to issue a
conduct violation for the October 26, 2009, complaint filed by
Plaintiff. Maldonado is the Regional Director, South Central Region.

2. On or about December 11, 2009, Defendant Jerry McKenney
caused a conduct violation to be written after receiving a directive
and/or instructions from Defendant Geraldo Maldonado, Jr., for a
complaint filed by Plaintiff on October 26, 2009. Defendant McKenney
told Defendant Mike Crittle to write the conduct violation for the
complaint filed by Plaintiff on October 26, 2009. Defendant Jerry
McKenney was the Special: Investigations Agent 'lat USP-Poklock.

3. On or about December 11, 2009, Defendant Mike Crittle
caused a conduct violation to be written against Plaintiff after

conferring-with Special Investigations Supervisor, Defendant Jerry

~3-
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McKenney, for a complaint filed by Plaintiff to Regional Director
Maldonado on October 26, 2009. Defendant Mike Crittle was Special
Investigations Supervisor at USP-Pollock.

4, On or about December 11, 2009, Defendant Lieutenant L. Wassen
issued a conduct violation to Plaintiff after conferring with Defendant
Mike Crittle (SIS) and/or Jerry McKenney (SIA) concerning a complaint
filed by Plaintiff on October 26, 2009, to Defendant Maldonado, et
al. Lieutenant L. Maldonado was the day watch lieutenant at USP-
Pollock. Defendant Lieutenant L. Wassen's first name is unknown.

5. On or about January 22, 2010, Defendant DHO M. White found
Plaintiff guilty of the conduct violation written by Defendant
Lieutenant L. Wassen at the behest of Defendants Geraldo Maldonado,
Jerry McKenney, and Mike Crittle, stemming from a complaint filed
by Plaintiff to Defendant Geraldo Maldonado, et al., on October 26,
2009.

6. On or about January 19, 2010, Defendant Karen Million refused-~
to process a BP-9 filed by Plaintiff against Defendants Geraldo Maldonado,
Lieutenant L. Wassen, et al., in order to keep Plaintiff from suing
Defendants Maldonado, Lieutenant L. Wassen et al., and interfer with
Plaintiff's right to redress and access to the courts.

7. On or about January 28, 2010, Defendant Karen Million and
Defendant Judy Luke rejected Plaintiff's BP-9 concerning the claims
of conspiracy against Geraldo Maldonado, et al., in an effort to
keep Plaintiff from suing Defendants Geraldo Maidonado et al., their
actions furthered the conspiracy by interferring with Plaintiff's
access to the courts and his right to redress of his grievances.

Karen Million was the Administrative Remedy Coordinator for USP-Pollock
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and Judy Luke is the Warden's secretary. Both Defendants were
employed’ at USP-Pollock.

As a direct and proximate result of the Defendants, and each
of them, the Plaintiff lost his natural rest and sleep, suffered
pain and emotional trauma, depression, anxiety, and apprehension,
and was deprived of all his privileges: for more than 30 days
without due process, including but not limited to - restriction of
his movement, his ability to contact his friends and family via
telephone, his ability to watch televsion, and access to the law
library as frequently as he'd have liked to have or had before being
placed in the Special Housing Unit, being restricted to his cell
for 23 hours per day. Further Defendants" actions deprived Plaintiff
of his right to access to the courts, right to freedom of redress
of grievance as well as discouraged Plaintiff from wanting to pursue
his complaint concerning the threats made against him by executive
staff and the mistreatment he was suffering at the hands of his Unit
Team members. All to Plaintiff's great damage.

Retaliating against a prisoner for filing a complaint, denying
a prisoner access to the courts, denying a prisoner his right to
redress of grievances, punishing Plaintiff without due process, and
conspiring to do any or all of these acts which the Defendant prison
officials knew or should have known are constitutional violations
makes all the Defendants liable for damages to Plaintiff. Bivens
v. Six Unknown Named Agents of the Federal Bureau of Narcotics, 403
U.S. 388 (1971).

As a direct and proximate result of the Defendants and each of
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them, as aforesaid, the Plaintiff has been damaged in the amount of
$60,000 (Sixty-thousand dollars) by each Defendant for a total of
$420,000 (Four hundred twenty thousand dollars).

Wherefore, the Plaintiff prays for judgment against the
Defendants, and each of them, in the amount of $60,000 each, and
becuase the acts of the Defendants were wanton and willful, the
Plaintiff prays for an award of Punitive damages in the amount of
$21,000,000 (Twenty-one million dollars) representing $3,000,000 for
each Defendant, Plaintiff's costs herein expended, and for allowance
for reasonable attorney fees, and for such other and further relief

as this Court deems just, proper and equitable under the circumatances.

Respectfully submitted,

 

James E. Bowman Pro Se

Dated: 6/16/2012
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them, as aforesaid, the Plaintiff has been damaged in the amount of
$60,000 (Sixty-thousand dollars) by each Defendant for a total of
$420,000 (Four hundred twenty thousand dollars).

Wherefore, the Plaintiff prays for judgment against the
Defendants, and each of them, in the amount of $60,000 each, and
becuase the acts of the Defendants were wanton and willful, the
Plaintiff prays for an award of Punitive damages in the amount of
$21,000,000 (Twenty-one million dollars) representing $3,000,000 for
each Defendant, Plaintiff's costs herein expended, and for allowance
for reasonable attorney fees, and for such other and further celief

as this Court deems just, proper and equitable under the circumatances.

Respectfully submitted,

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James E. Bowman Pro Se ~

 

Dated: 6/16/2012
